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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

WESLEY I. PURKEY,                                )
                                                 )
                       Plaintiff,                )
                                                 )
               v.                                )    Civil No. 19-03570 (TSC)
                                                 )
WILLIAM P. BARR, et al.,                         )
                                                 )
                       Defendants.               )


                         DEFENDANTS’ MOTION TO DISMISS
                       OR, IN THE ALTERNATIVE, TO TRANSFER

       Defendants hereby move this Court pursuant to Federal Rule of Civil Procedure 12(b)(1)

and (b)(6) to dismiss Wesley Purkey’s Complaint or, in the alternative, to transfer this case to the

Southern District of Indiana pursuant to 28 U.S.C. § 1404. A memorandum of law in support is

attached, along with a proposed order.

 Dated: February 24, 2020                            Respectfully submitted,

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                                                     United States Attorney

                                               By /s/ J. Benton Hurst

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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

WESLEY I. PURKEY,                    )
                                     )
                   Plaintiff,        )
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            v.                       )   Civil No. 19-03570 (TSC)
                                     )
WILLIAM P. BARR, et al.,             )
                                     )
                   Defendants.       )


                  MEMORANDUM IN SUPPORT OF
DEFENDANTS’ MOTION TO DISMISS OR, IN THE ALTERNATIVE, TO TRANSFER
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                                        INTRODUCTION

       A federal jury convicted Plaintiff Wesley Ira Purkey of kidnapping, raping, and

murdering a 16-year-old girl named Jennifer Long and returned a verdict of death. Purkey’s

conviction and sentence were affirmed on appeal, and he exhausted his post-conviction remedies.

On July 25, 2019, the Attorney General scheduled Purkey’s execution for December 13, 2019.

       Purkey filed suit in this Court late last year claiming that he is incompetent to be executed

under Ford v. Wainwright, 477 U.S. 399 (1986). He alleges that carrying out his execution would

violate the Eighth Amendment and seeks a declaratory judgment that he is incompetent and an

injunction preventing his execution. He also claims that carrying out his execution without first

providing a hearing on the issue of his competency would violate the Due Process Clause of the

Fifth Amendment and the Eighth Amendment.

       Purkey’s lawsuit is fatally defective and should be dismissed. First, Purkey’s Ford claim

is either moot or unripe, so this Court lacks subject matter jurisdiction. Since Purkey filed his

Complaint, his scheduled execution date has passed, and in a separate litigation this Court has

preliminarily enjoined the Government from carrying out Purkey’s execution. As his claims only

ripen when his execution has been scheduled, this Court must dismiss. Furthermore, Purkey

alleges that any period of incompetency could be temporary, so any determinations this Court

could reach about Purkey’s competency while the preliminary injunction remains in place would

be advisory, and Purkey’s competency may need to be litigated all over again after a new

execution date is set.

       Second, Purkey fails to state a claim because his Ford challenge must be brought through

a habeas petition under 28 U.S.C. § 2241 in the district of his confinement. Purkey claims to be

seeking equitable relief directly under the Constitution, but he cannot state a claim for implied

equitable relief because Congress displaced equitable causes of action by enacting a remedial


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scheme under habeas. Purkey cannot avoid the procedures enacted by Congress—including

limitations on venue—simply by asking this Court to imply an equitable cause of action. Purkey

seeks a declaration that would bar the Government from carrying out his execution, so he must

bring his claim in habeas in the Southern District of Indiana.

       Third, Purkey fails to state a claim for relief under Ford because he does not plausibly

allege he is incompetent to be executed. A single psychiatrist, Dr. Bhushan Agharkar,

interviewed Purkey and opined that although Purkey said he accepts that he will be executed for

murdering Jennifer Long, Purkey is actually “parroting” and does not rationally understand why

he will be executed. However, as Purkey’s own writings and statements attached to his

Complaint make clear, Dr. Agharkar confused Purkey’s understanding of the reason for his

execution with Purkey’s alleged understanding of why the Government scheduled his execution

date. Purkey is currently litigating a separate pro se lawsuit that challenges the reason for setting

his execution date and argues that the Government scheduled his execution date in retaliation for

his frequent grievances and pro se lawsuits. But Purkey’s alleged confusion about the reason for

setting his execution date does not mean that he cannot understand why he was sentenced to

death and will be executed.

       Purkey also alleges that he has a history of mental illness, is delusional about BOP

retaliation, was recently diagnosed with Alzheimer’s disease, and does not get along with his

lawyers, but none of these allegations address the core question of whether he is capable of

rationally understanding the reason for his execution. Purkey’s own writings and statements

attached to his Complaint show that he is.




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       Fourth, Purkey fails to state a claim for relief under the Due Process Clause because he is

not entitled to a hearing on the issue of his competency until he first makes a substantial

threshold showing of incompetency, which he has failed to do.

       Purkey’s claims should be dismissed, but if this Court declines to dismiss either or both

of them, it should transfer this case to the Southern District of Indiana, where Purkey is

incarcerated. Purkey could have brought this case in the Southern District of Indiana, and the

convenience of the parties and witnesses and interests of justice all warrant transfer.

                                          *       *       *

       Purkey’s litigation strategy in this case and others he is pursuing in parallel is self-

evident: He seeks to avoid imposition of his lawfully imposed sentence by filing as many claims

as possible in as many courts as possible to cause as much delay as possible. In particular,

Purkey’s Ford claim became ripe as soon as his execution date was set on July 25, 2019 for

December 13, yet he waited until November 26—less than a month before his execution date—

to file this lawsuit. And he inexplicably filed in this Court, even though it has no connection to

his crime, his conviction and sentence, or his place of incarceration, and even though he

concedes he could have brought his claims through a habeas petition in the court where he is

already simultaneously pursuing habeas relief on other grounds.

       The Supreme Court recently cautioned against permitting death row inmates to pursue

litigation tactics designed to delay their executions, see Bucklew v. Precythe, 587 U.S. __, 139

S. Ct. 1112, 1133-34 (2019), which is exactly what Purkey is attempting here. This Court should

reject Purkey’s dilatory litigation ploy and either dismiss this case or transfer it to the Southern

District of Indiana, where it can be expeditiously resolved.




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                                        BACKGROUND

       Purkey is currently confined in the United States Penitentiary in Terre Haute, Indiana,

awaiting execution. Compl. ¶ 1, ECF No. 1.

       In 2003, a jury in the Western District of Missouri convicted Purkey for his 1998

interstate kidnapping, rape, and murder of 16-year-old Jennifer Long. Special Verdict Form,

United States v. Purkey, No. 01-CR-00308-FJG (W.D. Mo. Nov. 19, 2003), ECF No. 487; see

also United States v. Purkey, 428 F.3d 738, 744 (8th Cir. 2005). Purkey confessed to the crime

against Ms. Long while awaiting state prosecution for the murder of 80-year-old Mary Ruth

Bales. Purkey, 428 F.3d at 745. He disclosed the location where he had discarded Ms. Long’s

undergarments and jawbone, but the remainder of Ms. Long’s body was unrecoverable because

he had dismembered it with a chain saw and then burned the remains. Id. At the penalty phase of

the trial in 2004, the jury found as an aggravating factor that Purkey had killed Ms. Bales by

repeatedly striking her in the head with a hammer. Id. at 746. The jury determined that Purkey

should be sentenced to death. Id.

       Prior to Purkey’s trial, a magistrate judge conducted a hearing to determine his

competency to stand trial. Minute Entry, United States v. Purkey, No. 01-CR-00308-FJG (W.D.

Mo. Sept. 17, 2002), ECF No. 105. Purkey was found competent. Report and Recommendations

on Competency, United States v. Purkey, No. 01-CR-00308-FJG (W.D. Mo. June 6, 2003), ECF

No. 219; Order Adopting Report and Recommendations, United States v. Purkey, No. 01-CR-

00308-FJG (W.D. Mo. July 29, 2003), ECF No. 237.

       The Eighth Circuit affirmed Purkey’s conviction and sentence on direct appeal. Purkey,

428 F.3d at 764. He exhausted his post-conviction remedies in 2014, after the Eighth Circuit

affirmed the denial of his motion under 28 U.S.C. § 2255, and the Supreme Court denied his




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petition for certiorari. Purkey v. United States, 729 F.3d 860 (8th Cir. 2013), cert. denied, 135

S. Ct. 355 (2014).

       On July 25, 2019, the United States Department of Justice scheduled Purkey’s execution

for December 13, 2019. Compl. ¶ 1; see also 18 U.S.C. § 3596(a).

       On August 27, 2019, Purkey filed a petition in the Southern District of Indiana under

28 U.S.C. § 2241 raising eight grounds for relief, including contentions that his trial counsel

ineffectively failed to investigate mitigation evidence related to his mental health and that his

death sentence violated Atkins v. Virginia, 536 U.S. 304 (2002). Petition for Writ of Habeas

Corpus, Purkey v. United States, No. 19-CV-00414 (S.D. Ind. Aug. 27, 2019), ECF No. 1.

Though he included an Atkins claim challenging the imposition of his death sentence based on

his alleged incompetence when he committed the offense, see id. at 192-200, Purkey did not

include a Ford claim challenging his present competence to be executed.

       During the course of that § 2241 litigation, however, Purkey’s counsel informed the

Southern District of Indiana that they were “diligently preparing a petition that Mr. Purkey is

incompetent to be executed, a claim that did not become ripe until his execution date was set and

has required additional investigation and updated mental health evaluations and testing.” The

document containing this statement was filed ex parte in the Southern District of Indiana but was

filed in this case as Exhibit 28 to the Declaration of Rebecca E. Woodman. See ECF No. 7-30 at

5. In the § 2241 litigation, Purkey’s counsel sought ex parte an order directing that Purkey

undergo certain brain imaging tests that “will also bear on the question of whether Mr. Purkey is

competent to be executed, an issue that is ripe in his case.” Ex. 20 to Woodman Decl. at 1, ECF

No. 7-22; Compl. ¶ 6.




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       Also during the pendency of that § 2241 litigation, Purkey filed an action in this Court

challenging the Government’s lethal injection protocol. Complaint, Purkey v. Barr, No. 19-cv-

03214-TSC (D.D.C. Oct. 25, 2019), ECF No. 1. That suit was consolidated with other similar

challenges. See In the Matter of the Fed. Bureau of Prisons’ Execution Protocol Cases, No. 19-

mc-145 (TSC) (D.D.C.).

       On November 20, 2019, the Southern District of Indiana found that none of Purkey’s

claims satisfied the saving clause of 28 U.S.C. § 2255(e) and accordingly denied Purkey’s

§ 2241 petition with prejudice. Purkey v. United States, No. 19-cv-414, 2019 WL 6170069 (S.D.

Ind. Nov. 20, 2019). The court also denied Purkey’s motion for a stay of his execution. Id.

Purkey appealed the denial of three of those claims to the Seventh Circuit, and that appeal is

pending. See Purkey v. United States, No. 19-3318 (7th Cir.).

       Also on November 20, 2019, this Court stayed the executions of Purkey and other federal

prisoners pending further litigation concerning the Government’s execution protocol. In the

Matter of the Fed. Bureau of Prisons’ Execution Protocol Cases, No. 19-mc-145 (TSC), 2019

WL 6691814, at *8 (D.D.C. Nov. 20, 2019). The United States appealed the stay, and that appeal

is currently pending before the D.C. Circuit. See In the Matter of the Fed. Bureau of Prisons’

Execution Protocol Cases, No. 19-5322 (D.C. Cir.). Per order of this Court, briefing on a

dispositive motion in that litigation is currently scheduled to be complete on October 5, 2020.

Order, In the Matter of the Fed. Bureau of Prisons’ Execution Protocol Cases, No. 19-mc-145

(TSC) (D.D.C. Feb. 19, 2020), ECF No. 81.

       Six days after the Southern District of Indiana denied his § 2241 petition, Purkey filed the

present civil Complaint in this Court raising the Ford claim that he omitted from his § 2241

petition in the Southern District of Indiana. Compl., ECF No. 1. Purkey’s Complaint pleads two




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claims. First, Purkey alleges that carrying out his execution would violate the Eighth

Amendment because he is incompetent. Compl. ¶¶ 109-14. Second, Purkey alleges that

executing him without first providing a hearing to determine his competency would violate the

Due Process Clause of the Fifth Amendment and the Eighth Amendment. Compl. ¶¶ 116-21.

Purkey seeks a declaration that he is incompetent, an evidentiary hearing to determine whether

he is competent, and an injunction barring his execution during any period of incompetency and

lasting until his competency is restored. Compl. at 57.

       Along with his Complaint, Purkey filed a “Notice of Designation of Related Civil Cases

Pending in This or Any Other United States Court” stating that his Ford litigation is related to

the protocol cases before this Court. ECF No. 3. Purkey did not identify his § 2241 litigation to

this Court as a related case. Purkey’s Complaint does not explain why he chose not to raise his

Ford claims under § 2241 in the Southern District of Indiana, although he filed his habeas

petition there after the Attorney General had scheduled his execution date.

       On December 4, 2019, Purkey moved this Court to preliminarily enjoin his execution,

despite the fact that this Court has already stayed his execution in the protocol litigation.

Plaintiff’s Motion for a Preliminary Injunction, ECF No. 7. The Government responded that

Purkey could not raise his Ford claim in the District of Columbia because jurisdiction for that

claim lies only in the Southern District of Indiana. Defendants’ Opposition, ECF No. 10.

       This Court granted Purkey’s subsequent motion to withdraw his preliminary injunction

motion, but ordered him to answer the Government’s challenge to the Court’s jurisdiction over

his Ford claim. Minute Order (Dec. 31, 2019). Purkey’s counsel filed a response on January 14,

2020. ECF No. 14. Both the Government and Purkey filed additional briefing on the topic. ECF

Nos. 16, 17.




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        In addition to the litigation described above, Purkey also has two additional pro se

actions pending in the Southern District of Indiana: On July 26, 2019, Purkey raised claims

relating to his dental care. Bivens Action, Purkey v. Underwood, 19-cv-355-JMS-DLP (S.D. Ind.

July 26, 2019), ECF No. 1. On October 28, 2019, Purkey filed a pro se action challenging his

selection for an execution date. Civil Rights Complaint, Purkey v. Barr, No. 19-cv-517-JRS-

DLP (S.D. Ind. Oct. 28, 2019), ECF No. 1.

        To sum up, Purkey is currently litigating four cases relating to his execution in two

different districts: (1) this case, (2) his § 2241 petition filed in the Southern District of Indiana

and currently on appeal in the Seventh Circuit, (3) his pro se action in the Southern District of

Indiana challenging his selection for an execution date, and (4) the execution protocol litigation

in this Court.

                            LEGAL STANDARDS FOR DISMISSAL

        Rule 12(b)(1). A Rule 12(b)(1) motion tests this Court’s subject-matter jurisdiction. “In

reviewing a motion to dismiss pursuant to Rule 12(b)(1), courts must accept as true all factual

allegations in the complaint and construe the complaint liberally, granting plaintiff the benefit of

all inferences that can be drawn from the facts alleged.” Moghaddam v. Pompeo, __ F. Supp. 3d

__, No. CV 19-688 (CKK), 2020 WL 364839, at *3 (D.D.C. Jan. 22, 2020). “Although a court

must accept as true all factual allegations contained in the complaint when reviewing a motion to

dismiss pursuant to Rule 12(b)(1), [a] plaintiff[’s] factual allegations in the complaint . . . will

bear closer scrutiny in resolving a 12(b)(1) motion than in resolving a 12(b)(6) motion for failure

to state a claim.” Id. (quoting Wright v. Foreign Serv. Grievance Bd., 503 F. Supp. 2d 163, 170

(D.D.C. 2007)). “Finally, in determining whether it has jurisdiction, the Court ‘may consider

materials outside of the pleadings.’” Abou-Hussein v. Mabus, 953 F. Supp. 2d 251, 257 (D.D.C.

2013) (quoting Jerome Stevens Pharm., Inc. v. Food & Drug Admin., 402 F.3d 1249, 1253 (D.C.


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Cir. 2005)). “Despite the favorable inferences that a plaintiff receives on a motion to dismiss, it

remains the plaintiff’s burden to prove subject matter jurisdiction by a preponderance of the

evidence.” Id.

        Rule 12(b)(6). A Rule 12(b)(6) motion tests the legal sufficiency of a complaint. To

survive a motion to dismiss, a complaint must contain sufficient facts that, when accepted as

true, “‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); see also Aktieselskabet v.

Fame Jeans, Inc., 525 F.3d 8, 16-17 (D.C. Cir. 2008); In re Sealed Case, 494 F.3d 139, 145

(D.C. Cir. 2007) (citing Twombly). Under this standard, a complaint must contain “more than

‘labels and conclusions,’ and ‘a formulaic recitation of the elements of a cause of action will not

do.’ . . . Nor does a complaint suffice if it tenders ‘naked assertions’ devoid of ‘further factual

enhancement.’” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555, 557). A plaintiff must

therefore plead facts that allow the court “to draw the reasonable inference that the defendant is

liable for the misconduct alleged” and offer “more than a sheer possibility that a defendant has

acted unlawfully.” Iqbal, 556 U.S. at 678. While a plaintiff is entitled to “the benefit of all

inferences that can be derived from the facts alleged,” this Court “need not accept inferences

drawn by the plaintiff if those inferences are unsupported by facts alleged in the complaint, nor

must the Court accept plaintiff’s legal conclusions.” Lurensky v. Wellinghoff, 167 F. Supp. 3d 1,

11-12 (D.D.C. 2016) (quotation omitted).

        When ruling on a motion under Rule 12(b)(6), the Court may consider “facts alleged in

the complaint, documents attached as exhibits or incorporated by reference in the complaint” and

“documents upon which the plaintiff’s complaint necessarily relies even if the document is

produced not by the plaintiff in the complaint but by the defendant in a motion to dismiss.”




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See Ward v. D.C. Dep’t of Youth Rehab. Servs., 768 F. Supp. 2d 117, 119 n. 2 (D.D.C. 2011)

(declining to convert motion to dismiss to motion for summary judgment) (internal quotations

and citations omitted). “[W]here a document is referred to in the complaint or is central to the

plaintiff’s claims, such a document attached to the motion papers may be considered without

converting the motion to one for summary judgment.” Vanover v. Hantman, 77 F. Supp. 2d 91,

98 (D. D.C. 1999), aff’d, 38 F. App’x 4 (D.C. Cir. 2002). “‘Moreover, a document need not be

mentioned by name to be considered ‘referred to’ or ‘incorporated by reference’ into the

complaint.’ Otherwise, ‘a plaintiff with a legally deficient claim could survive a motion to

dismiss simply by failing to attach a dispositive document on which it relied.’” Alston v.

Johnson, 208 F. Supp. 3d 293, 298 (D.D.C. 2016) (Chutkan, J.) (quoting Strumsky v. Washington

Post Co., 842 F. Supp. 2d 215, 217-18 (D.D.C. 2012)) (internal citation omitted).

                                           ARGUMENT

I.     Rule 12(b)(1): The Court Lacks Jurisdiction Because the Case Is Either Moot or Is
       Not Ripe

       Purkey seeks an injunction against his execution, but this Court has already enjoined his

execution, the date set for his execution has passed, and the Department of Justice has not set a

new date. For so long as that injunction remains in place, this Court lacks jurisdiction because

this case is either moot or unripe.

       First, a claim must be ripe to present a case or controversy. “This requirement ensures

that the Federal Judiciary confines itself to its constitutionally limited role of adjudicating actual

and concrete disputes, the resolutions of which have direct consequences on the parties

involved.” United States v. Sanchez-Gomez, 584 U.S. ––, 138 S. Ct. 1532, 1537 (2018) (quoting

Genesis HealthCare Corp. v. Symczyk, 569 U.S. 66, 71 (2013)). “Where injunctive or declaratory

relief is sought, the doctrine of ripeness serves ‘to prevent the courts, through avoidance of



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premature adjudication, from entangling themselves in abstract disagreements over

administrative policies, and also to protect the agencies from judicial interference until an

administrative decision has been formalized and its effects felt in a concrete way by the

challenging parties.’” Aulenback, Inc. v. Fed. Highway Admin., 103 F.3d 156, 166 (D.C. Cir.

1997) (quoting Abbott Labs. v. Gardner, 387 U.S. 136, 148-49 (1967)). A Ford claim does not

ripen until the Government sets an execution date. See Burton v. Stewart, 549 U.S. 147, 154-55

(2007) (citing Stewart v. Martinez-Villareal, 523 U.S. 637, 644-45 (1998)).

       Second, the claim must remain live throughout the litigation. “A corollary to this case-or-

controversy requirement is that ‘an actual controversy must be extant at all stages of review, not

merely at the time the complaint is filed.’” Symczyk, 569 U.S. at 71 (quoting Arizonans for

Official English v. Arizona, 520 U.S. 43, 67 (1997)). “If an intervening circumstance deprives the

plaintiff of a ‘personal stake in the outcome of the lawsuit,’ at any point during litigation, the

action can no longer proceed and must be dismissed as moot.” Id. (quoting Lewis v. Continental

Bank Corp., 494 U.S. 472, 477-78 (1990)). A case is moot if the court’s decision “will neither

‘presently affect the parties’ rights nor have a more-than-speculative chance of affecting them in

the future.’” Guedes v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 920 F.3d 1, 12

(D.C. Cir. 2019) (quoting Aref v. Lynch, 833 F.3d 242, 250 (D.C. Cir. 2016)). “As applied in the

context of injunctive litigation, if there remains no conduct to be enjoined, then normally there is

no relief that need be granted, the case or controversy has ceased, and the jurisdiction of the

court has expired under Article III.” True the Vote, Inc. v. Internal Revenue Serv., 831 F.3d 551,

561 (D.C. Cir. 2016). “The party seeking jurisdictional dismissal must establish mootness, while

the opposing party has the burden to prove that a mootness exception applies.” Reid v. Hurwitz,

920 F.3d 828, 832 (D.C. Cir. 2019).




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       Purkey’s Ford claim was ripe when he filed his Complaint because the Attorney General

had scheduled his execution. Since then, however, the scheduled execution date has passed, and

this Court has enjoined the Government from executing Purkey’s sentence. While that

preliminary injunction remains in place, Purkey cannot be executed, and this Court cannot

effectively grant him the injunctive relief he seeks. Purkey apparently recognized as much when

he moved to withdraw his motion for a preliminary injunction in this case. Motion to Withdraw,

ECF No. 11.

       Furthermore, if Purkey’s assertion that any period of competency may be temporary were

true, see Brief at 2, 7-9, ECF No. 14; Reply Brief at 2-3, ECF No. 17, any factual conclusions

this Court could reach about Purkey’s competency during the period that the preliminary

injunction remains in place would be advisory. For this reason, Purkey’s claim is either unripe or

moot, and this Court lacks jurisdiction to consider it.

II.    Rule 12(b)(6): Purkey Fails to State a Claim Because Congress Requires Ford
       Challenges to be Brought under § 2241

       Purkey now claims not to seek relief under the Administrative Procedure Act, but instead

to seek equitable relief directly under the Constitution. Brief at 5-6, ECF No. 14; Reply Brief at

4, ECF No. 17. Purkey cannot state a claim for implied equitable relief, however, because

Congress has enacted a remedial scheme under habeas, which precludes any possible equitable

cause of action seeking the same relief. Purkey cannot avoid the procedures enacted by

Congress—including limitations on venue—by asking this Court to imply a cause of action

without those procedures.

       Challenges to the execution of a death sentence must be brought in habeas if “a grant of

relief would necessarily bar the execution.” Purkey attempts to avoid this conclusion by framing

the injunction he seeks as a temporary one, but the Supreme Court considers whether a ruling



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would “necessarily bar the execution” by considering the present effect of a successful claim, not

whether future circumstances might undermine it.

       Because Purkey’s claims can only be heard in habeas, they must be brought against his

custodian and in the Southern District of Indiana. This Court cannot hear them and should

dismiss.

       A.       Congress’s Enactment of § 2241 Precludes Any Implied Equitable Remedies
                Here

       Purkey’s claim to “seek equitable relief directly under the Constitution,” Reply Brief at 4,

ECF No. 17; see Brief at 5-6, ECF No. 14, elides a critical distinction between the purported

source of the right he asserts and the cause of action he needs to seek relief. “[S]uits to enjoin

official conduct that conflicts with the federal Constitution are common,” but “the cause of

action for such claims does not arise under the Constitution itself.” D.C. Ass’n of Chartered Pub.

Sch. v. Dist. of Columbia, 930 F.3d 487, 493 (D.C. Cir. 2019); accord Sierra Club v. Trump, 929

F.3d 670, 694-98 (9th Cir. 2019). “Rather, it exists as ‘the creation of courts of equity.’” D.C.

Ass’n, 930 F.3d at 493 (quoting Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327

(2015)). As another court has noted in following Armstrong, the Supreme Court drew a “careful

distinction between the ‘source of [a] federal right[]’ and the ‘creat[ion of] a cause of action.’”

Safe Streets Alliance v. Hickenlooper, 859 F.3d 865, 900 n.10 (10th Cir. 2017) (quoting

Armstrong, 575 U.S. at 324-25).

       Because he fails to understand this difference, Purkey fails to recognize that Congress

may limit a court’s power to provide equitable relief, even for violations of constitutional rights.

“The power of federal courts in equity to enjoin unlawful executive action is subject to express

and implied statutory limitations.” Armstrong, 575 U.S. at 327. The principle is “well-

established” that, “in most contexts, ‘a precisely drawn, detailed statute pre-empts more general



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remedies.’” Hinck v. United States, 550 U.S. 501, 506 (2007) (quoting EC Term of Years Trust v.

United States, 550 U.S. 429, 433 (2007)). “Where Congress has created a remedial scheme for

the enforcement of a particular federal right, we have, in suits against federal officers, refused to

supplement that scheme with one created by the judiciary.” Seminole Tribe of Florida v. Florida,

517 U.S. 44, 74 (1996) (citing Schweiker v. Chilicky, 487 U.S. 412, 423 (1988)).

       The Supreme Court has refused to imply a cause of action for injunctive relief where it

found Congress had “implicitly preclude[d] private enforcement.” Armstrong, 575 U.S. at 328.

The Court concluded that Congress intended to foreclose private enforcement of Medicaid’s

reimbursement provisions in part because the statute provided for enforcement by the Secretary

of Health and Human Services, and “express provision of one method of enforcing a substantive

rule suggests that Congress intended to preclude others.” Id. (quoting Alexandar v. Sandoval,

532 U.S. 275, 290 (2001)). “We have no warrant,” the Court concluded, “to revise Congress’s

scheme simply because it did not ‘affirmatively’ preclude the availability of judge-made action

at equity.” Id. at 329; cf. Safe Streets Alliance, 859 F.3d at 900 n.11. This was true even though

refusing to imply the cause of action left the plaintiffs with no recourse at all. Armstrong, 575

U.S. at 329.

       B.      Ford Claims Must be Brought under § 2241

       Relying on similar principles, the Supreme Court has held that the federal habeas statute

precludes resort to more general causes of action. For example, an action under 42 U.S.C. § 1983

“must yield to the more specific federal habeas statute, with its attendant procedural and

exhaustion requirements, where an inmate seeks injunctive relief challenging the fact of his

conviction or the duration of his sentence.” Nelson v. Campbell, 541 U.S. 637, 643 (2004) (citing

Preiser v. Rodriguez, 411 U.S. 475, 489 (1973)); accord Muhammad v. Close, 540 U.S. 749,

750-51 (2004). “It would wholly frustrate congressional intent,” the Court has held, to permit


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prisoners to evade the habeas statute’s procedural requirements “by the simple expedient of

putting a different label on their pleadings.” Preiser, 411 U.S. at 489. “By contrast, constitutional

claims that merely challenge the conditions of a [state] prisoner’s confinement, whether the

inmate seeks monetary or injunctive relief, fall outside of that core and may be brought pursuant

to § 1983 in the first instance.” Nelson, 541 U.S. at 643.

       The Supreme Court has recognized that the distinction between challenges to the “fact of

[a] conviction or the duration of [a] sentence” and claims challenging “the conditions of a

prisoner’s confinement” does not translate perfectly to the death penalty. Id. at 644. Instead, in

death penalty litigation the Court has written that the “criterion” is “whether a grant of relief to

the inmate would necessarily bar the execution.” Hill v. McDonough, 547 U.S. 573, 583 (2006).

If so, that claim must be brought in habeas. See id. at 580-83; Nelson, 541 U.S. at 643-44. For

example, Nelson concludes that “[a] suit seeking to enjoin a particular means of effectuating a

sentence of death does not directly call into question the ‘fact’ or ‘validity’ of the sentence

itself—by simply altering its method of execution, the State can go forward with the sentence.”

541 U.S. at 644. Likewise, Hill explains Nelson’s holding by concluding that the claim in Nelson

“did not challenge an execution procedure required by law, so granting relief would not imply

the unlawfulness of the lethal injection sentence.” 547 U.S. at 580. Hill ultimately reaches the

same conclusion: the plaintiff could sue under § 1983 because his “action if successful would not

necessarily prevent the State from executing him by lethal injection.” Id. at 580-81 (noting that

the prisoner alleged that the State could avoid unnecessary pain “while still being able to enforce

the sentence ordering a lethal injection”).

       Unlike the prisoners in Nelson and Hill, Purkey asks this Court to stop the Defendants

from executing him, and therefore he must bring his claim in habeas. Unlike the method-of-




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execution challenges in Nelson and Hill, Purkey’s Ford claim would, if successful, “necessarily

bar [his] execution.” Hill, 547 U.S. at 583. This Court need look no further than Purkey’s prayer

for relief, which asks the Court to “[e]nter an injunction preventing his execution during any

period of incompetency, and lasting until such time as his competency is restored.” Compl. at 57.

He asks this Court to declare that “executing him in his present condition violates his rights as

guaranteed by the Eighth Amendment to the United States Constitution,” Compl. at 57, but fails

to acknowledge that “a core purpose of habeas corpus is to prevent a custodian from inflicting an

unconstitutional sentence,” Webster v. Daniels, 784 F.3d 1123, 1139 (7th Cir. 2015) (en banc).

Unlike the prisoners in Nelson and Hill, Purkey does not challenge the means of his execution,

but the Government’s ability to execute him at all. Because Congress has provided habeas as the

exclusive cause of action for Purkey’s claim, he has failed to state a claim and this Court should

dismiss his Complaint.

       C.      Purkey Applies the Wrong Test to the Wrong Time

       In his prior briefing on this point, Purkey fails to recognize that Nelson and Hill have

changed the preclusion analysis in death penalty cases. Brief at 7-9, ECF No. 14; Reply Brief at

2, ECF No. 17. Purkey describes the test as one of whether the claim will “necessarily imply the

invalidity of confinement or shorten its duration” Brief at 7, ECF No. 14, which is the test courts

have applied outside of the death penalty realm. See, e.g., Davis v. U.S. Sentencing Comm’n, 716

F.3d 660, 665 (D.C. Cir. 2013). Having stated that test, Purkey baldly asserts that he is not

“seeking to invalidate or rescind his sentence” or to “reduce the duration of his confinement” and

therefore his claim is not precluded by habeas. Brief at 7, ECF No. 14.

       But Purkey misstates the proper test for whether a death penalty challenge must be

brought in habeas. Nelson states that, when considering the preclusive effect of habeas on

challenges to a death sentence, “[n]either the ‘conditions’ nor the ‘fact or duration’ label is


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particularly apt” and that it “makes little sense to talk of the ‘duration’ of a death sentence.” 541

U.S. at 644. Instead, the Supreme Court instructs that in death penalty challenges the proper

“criterion” is “whether a grant of relief to the inmate would necessarily bar the execution.” Hill,

547 U.S. at 583. When Nelson and Hill discuss a challenge to the “fact of a conviction” or the

“duration of a sentence” that must be brought in habeas, they consider not whether the prisoner is

seeking to “invalidate or rescind his sentence,” but whether success in his suit will bar the

execution. Hill, 547 U.S. at 583; see Nelson, 541 U.S. at 645-47. As discussed above, if

successful Purkey’s suit will necessarily bar his execution and therefore must be brought under

§ 2241.

       Rather than confront the test that the Supreme Court has announced, Purkey suggests

instead that his claim lies outside of habeas because, though he certainly cannot be executed

now, he may be competent to be executed someday. See Brief at 7-9, ECF No. 14; Reply Brief at

2-3, ECF No. 17. Purkey’s argument misunderstands the relevant temporal considerations. The

Supreme Court reviews the exclusivity of habeas based on what a successful claim would require

today. For example, in Hill the Court held that the claim could proceed under § 1983 because,

“at this stage of the litigation, the injunction Hill seeks would not necessarily foreclose the State

from implementing the lethal injection sentence under present law.” 547 U.S. at 583 (emphasis

supplied). Likewise, in Nelson the Court asked whether enjoining the use of the lethal injection

would “require statutory amendment or variance,” such that the state could not “met[e] out a

sentence of death in a timely fashion.” 541 U.S. at 644. The necessary implication is that where a

successful claim would permit execution only after the time and expense of statutory

amendment, it would effectively bar the execution and could proceed only in habeas. In the same

way, where a successful claim would bar the execution until the occurrence of a future condition




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that might never occur at all—that is, until such time as Purkey might be restored to

competency—the claim would effectively bar the execution and can proceed only in habeas.

       Purkey concedes that he could have brought his claim in habeas. Brief at 7, ECF No. 14.

In his view, Congress created a cause of action under habeas but did not prohibit this Court from

implying a cause of action that provides the same exact relief without the procedural hurdles of a

habeas petition: “In fact,” he argues, “Ford claims have been brought under the civil rights laws

by state prisoners facing execution.” Reply Brief at 4, ECF No. 17.

       The cases Purkey cites, however, do not support his position. The first case, Ward v.

Hutchinson, 558 S.W.3d 856 (Ark. 2018), involved a state prisoner proceeding in state court and

gives no indication whether the federal habeas statute would preclude a federal prisoner from

proceeding in federal court under an implied right of action. Though the second case, Stanley v.

Davis, hypothesizes that “at least under some circumstances” a Ford claim could proceed under

§ 1983, it also notes that “[t]he parties do not cite to, nor is the Court aware of, any caselaw

authorizing consideration of a Ford claim pursuant to section 1983” and expressly refuses to

decide the question: “The issue has not been definitively decided by the Supreme Court or the

Ninth Circuit. This Court need not decide the issue now.” No. 07-cv-4727, 2015 WL 435077, at

*4-5 & n.4 (N.D. Cal. Feb. 2, 2015). Moreover, the prisoner in that case ultimately brought his

Ford claim under habeas. See Finalized Petition for Writ of Habeas Corpus at 324-31, Stanley v.

Davis, No. 07-cv-4727 (N.D. Cal. Dec. 12, 2016), ECF No. 252. The final case, Simmat v. U.S.

Bureau of Prisons, 413 F.3d 1225 (10th Cir. 2005), involved not a Ford claim but a challenge to

the conditions of confinement—a claim that, in the Tenth Circuit, could not have been brought

under habeas at all. See Aamer v. Obama, 742 F.3d 1023, 1037-38 (D.C. Cir. 2014) (citing

McIntosh v. U.S. Parole Comm’n, 115 F.3d 809, 811 (10th Cir. 1997)); cf. Nelson, 541 U.S. at




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643. None of Purkey’s cases stands for the proposition that a federal prisoner can avoid the

restrictions of habeas and pursue a Ford claim using an implied cause of action under the

Constitution.

       Purkey’s argument also defies logic. If Purkey were correct, not only would every federal

prisoner facing execution have the opportunity to bring his Ford claim in this Court without

complying with the jurisdictional and venue requirements of § 2241, but every state prisoner

facing execution would have the option to file his or her Ford claim in the first instance in

federal court, notwithstanding the requirement under the federal habeas statute that they exhaust

state remedies before filing in federal court. See 28 U.S.C. § 2254(b)(1)(A). As Purkey notes,

Compl. ¶ 103 n.5, many states have implemented death penalty procedures that account for

claims under Ford. If habeas were not an exclusive remedy for Ford claims, state prisoners

nationwide facing execution could avoid those procedures by filing a claim under § 1983 in any

federal court with jurisdiction. That cannot have been Congress’s intent.

       D.       Purkey’s Complaint Cannot be Construed as a Habeas Petition

       This Court cannot construe Purkey’s complaint as a habeas petition, because this Court

lacks jurisdiction over an absent and necessary party: Purkey’s custodian, the warden of the

prison where he is confined.

       “Whenever a § 2241 habeas petitioner seeks to challenge his present physical custody

within the United States, he should name his warden as respondent and file the petition in the

district of confinement.” Rumsfeld v. Padilla, 542 U.S. 426, 447 (2004); accord Day v. Trump,

860 F.3d 686, 689 (D.C. Cir. 2017); Stokes v. U.S. Parole Comm’n, 374 F.3d 1235, 1238-39 (D.C.

Cir. 2004). As the Seventh Circuit has held, the Southern District of Indiana is the “one and only

proper venue” for the § 2241 claim of a federal prisoner held at the U.S. Penitentiary at Terre

Haute alleging that he is “categorically and constitutionally ineligible for the death penalty” under


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Atkins v. Virginia, 536 U.S. 304 (2002). Webster, 784 F.3d at 1125, 1144. Purkey has sued the

wrong parties in the wrong court.

       “The federal habeas statute straightforwardly provides that the proper respondent to a

habeas petition is ‘the person who has custody over [the petitioner].’” Rumsfeld, 542 U.S. at 434

(quoting 28 U.S.C. § 2242). “[T]hese provisions contemplate a proceeding against some person

who has immediate custody of the person detained, with the power to produce the body of such

party before the court or judge, that he may be liberated if no sufficient reason is shown to the

contrary.” Id. at 435 (quoting Wales v. Whitney, 114 U.S. 564, 574 (1885)). “In accord with the

statutory language and Wales’ immediate custodian rule, longstanding practice confirms that in

habeas challenges to present physical confinement—‘core challenges’—the default rule is that the

proper respondent is the warden of the facility where the prisoner is being held, not the Attorney

General or some other remote supervisory official.” Id.; accord Day, 860 F.3d at 689; Stokes, 374

F.3d at 1238 (“As an initial matter, it is clear that the only proper respondent to Stokes’s habeas

petition was his ‘immediate custodian,’—that is, the warden of the Ohio facility in which he was

incarcerated at the time he filed the petition.”). “This rule, derived from the terms of the habeas

statute, serves the important purpose of preventing forum shopping by habeas petitioners.”

Rumsfeld, 542 U.S. at 447.

       Purkey is confined at the United States Penitentiary in Terre Haute, Indiana. Compl. ¶ 6.

T.J. Watson is the warden of Purkey’s prison and the only proper defendant to claims sounding

in § 2241. Though Purkey named Attorney General Barr and Bureau of Prisons Director Sawyer

in this action, he failed to name Warden Watson. His omission is notable in light of his ongoing

habeas litigation against Watson, currently on appeal before Seventh Circuit. See Purkey v.

United States, No. 19-cv-00414, 2019 WL 6170069 (S.D. Ind. Nov. 20, 2019), appeal filed, No.




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19-3318 (7th Cir. Nov. 22, 2019). Because Purkey in fact cannot sue Warden Watson in a habeas

petition here in the District of Columbia, this Court cannot construe his Complaint as a habeas

petition and should dismiss it instead.

III.   Rule 12(b)(6): Purkey’s Ford Claim Fails to State a Claim for Relief Because He Has
       Not Plausibly Alleged He is Incompetent

       The Eighth Amendment prohibits executing an insane person. Ford v. Wainwright, 477

U.S. 399, 409-10 (1986). Specifically, the Eighth Amendment prohibits executing a prisoner

who cannot “‘reach a rational understanding of the reason for his execution.’” Madison v.

Alabama, 586 U.S. __, 139 S. Ct. 718, 723 (2019) (quoting Panetti v. Quarterman, 551 U.S. 930,

958 (2007)). “[T]he issue is whether a prisoner’s concept of reality is so impaired that he cannot

grasp the execution’s meaning and purpose or the link between his crime and its punishment.”

Id. (quotations omitted).

       Purkey’s Complaint raises five broad categories of allegations to support his claim that he

is incompetent to be executed: (1) a report by psychiatrist Dr. Bushan Agharkar, Compl. ¶¶ 21-

32; (2) Purkey’s history of mental illness, Compl. ¶¶ 38-85; (3) his filing of prison grievances

and pro se litigation, Compl. ¶¶ 70-85; (4) his dementia and recent diagnosis of Alzheimer’s

disease, Compl. ¶¶ 86-102; and (5) his difficulty working with his counsel, Compl. ¶¶ 103-08.

However, whether considered separately or together, none of these allegations states a plausible

claim of incompetence. Furthermore, Purkey’s own statements and writings included in the

exhibits attached to his Complaint demonstrate that he rationally understands why he will be

executed.

       A.      Dr. Agharkar’s Report Does Not Support a Plausible Claim of Incompetency

       The only allegations in Purkey’s Complaint that directly relate to his current competency

to be executed are those based upon the report of Dr. Bhushan Agharkar, which is attached as



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Exhibit 1 to the Complaint. Compl. ¶¶ 21-32. Dr. Agharkar is a psychiatrist who interviewed

Purkey for approximately three hours on September 8, 2016, and for approximately two hours on

November 8, 2019. Compl. Ex. 1 at 2. Although Dr. Agharkar opines that Purkey is incompetent

to be executed, his report is fundamentally flawed on its face because it conflates Purkey’s

understanding of the reason for his execution, which would be constitutionally disqualifying

under Ford, with Purkey’s understanding of the reason for scheduling his execution date, which

is not.

          Dr. Agharkar admits that Purkey is able to articulate the reason for his execution. “When

I was finally able to shift the topic to Mr. Purkey’s execution, Mr. Purkey first stated that he

knew what an execution was and said that he accepted that he was going to be executed for the

murder of Jennifer Long.” Compl. Ex. 1 at 11. However, Dr. Agharkar proceeds to opine—with

no basis or justification—that Purkey’s statement was an “attempt[] to ‘fake good’ at the outset

of our interview.” Compl. Ex. 1 at 11. “As the visit continued, . . . Mr. Purkey began to talk

about the ‘real reason’ he was going to be executed. He told me that he was actually being

executed because he is filing lawsuits for other people’s cases.” Compl. Ex. 1 at 11. Dr.

Agharkar writes that “[w]hen I inquired further, Mr. Purkey also told me that he was given a date

for execution unfairly and for reverse discrimination. He told me that we didn’t need to talk

about this because I could just read his filings.” Compl. Ex. 1 at 11.

          Based on that recounting of his discussion with Purkey, Dr. Agharkar’s report offers the

following opinion:

                  In my opinion, to a reasonable degree of medical certainty, at the time of
          the evaluation, Mr. Purkey lacked a rational understanding of the basis for his
          execution. While Mr. Purkey can recite the fact that his execution is for the murder
          of Jennifer Long, he lacks rational understanding of that fact. This is an example of
          parroting, rather than having a rational understanding. He lacks a true
          understanding or rationality that the murder is the basis for his execution. Instead,



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          Mr. Purkey has a fixed belief that he is going to be executed in retaliation for his
          legal work, to prevent him from being a hassle for the government. This prevents
          him from having a rational understanding of the purpose of his execution. This
          belief is part of his long-standing delusions about the “conspiracy” of retaliation.

Compl. Ex. 1 at 12.

          Purkey’s pro se filings, which he told Dr. Agharkar to read, make clear that Dr. Agharkar

either misunderstood or misconstrued Purkey’s statements and confused Purkey’s understanding

of the reason for his execution with his understanding of the reason for scheduling his execution

date. 1

          On October 28, 2019, Purkey filed a pro se civil rights action in the Southern District of

Indiana against the Attorney General, the Director of the BOP, Purkey’s warden, and another

prison employee. See Civil Rights Complaint, Purkey v. Barr, No. 19-cv-517 (S.D. Ind. Oct. 28,

2019), ECF No. 1. That pro se complaint is included in Exhibit 15 to his Complaint in this case.

          Purkey’s pro se complaint alleges that his constitutional rights were violated by “the

defendants[’] deliberate arbitrary selection of his execution date, which was substantially

motivated by his protracted jailhouse lawyering.” Compl. Ex. 15 at 994. Specifically, Purkey

alleges that when the warden informed him that his execution had been scheduled for

December 13, 2019, Purkey asked what criteria had been used to select him for an execution

date, considering other death row inmates had exhausted their appellate rights before he did.

Compl. Ex. 15 at 996. The warden allegedly responded that he did not know. Compl. Ex. 15 at

996. From that, Purkey alleges, apparently based on inference, that he was given an execution



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         It is unclear whether Dr. Agharkar actually reviewed Purkey’s pro se filings, as Purkey
suggested he should do. Although Dr. Agharkar writes that he “reviewed voluminous
documentary evidence” and evidently attached an index of these documents to his report, Compl.
Ex. 1 at 2, the index is not included with the version of Dr. Agharkar’s report attached to the
Complaint.



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date based on either his “protracted jailhouse lawyering activities” or reverse racial

discrimination. Compl. Ex. 15 at 1002-03. But nothing in Purkey’s pro se complaint indicates he

believes these are the reasons he was sentenced to death.

         Purkey’s Complaint in this case alleges that he “has consistently maintained this

delusional understanding of his execution since he was provided with an execution warrant on

July 25, 2019.” Compl. ¶ 34. It is clear why Purkey’s alleged delusion suddenly began on

July 25, 2019—that was the date the Government scheduled his execution for December 2019,

and his alleged delusion relates only to the reasons for scheduling his execution date. Purkey’s

Complaint fails to provide a single fact to the contrary. See Iqbal, 556 U.S. at 678. Although

Purkey alleges his execution date was set out of retaliation, that allegation is entirely consistent

with his having a rational understanding of the reason for his execution.

         A declaration from one of Purkey’s mitigation specialists further reinforces this

distinction. Dr. Elizabeth Vartkessian states that “[s]ince Wes received an execution date I have

seen him four times . . . . Each time he has noted that he is facing an execution date because of

his use of the grievance process and because of his efforts to file lawsuits about the conditions of

confinement.” Compl. Ex. 5 at 42. Purkey’s statement to Dr. Vartkessian is consistent with his

pro se complaint and his statements to Dr. Agharkar. Purkey apparently claims his execution date

was set in retaliation for his “jailhouse lawyering.” But those claims, even if he believes them, do

not prevent him from understanding the reason he was sentenced to death and will be executed.

His allegation of retaliation simply has nothing to do with what he needs to plead to state a Ford

claim.

         Purkey’s alleged confusion about the reason for scheduling his execution is

constitutionally irrelevant. The Eighth Amendment does not prohibit executing a prisoner who




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lacks a rational understanding of the reason for scheduling his execution date. As the Supreme

Court has emphasized, “the sole inquiry for the court remains whether the prisoner can rationally

understand the reasons for his death sentence.” Madison, 139 S. Ct. at 728 (emphasis added).

The Supreme Court has articulated two reasons for this inquiry. First, the Supreme Court

explained that “execution has no retributive value when a prisoner cannot appreciate the meaning

of a community’s judgment.” Madison, 139 S. Ct. at 727. Second, the Court explained that “it

offends humanity to execute a person so wracked by mental illness that he cannot comprehend

the meaning and purpose of the punishment.” Id. (quotations omitted). Neither rationale extends

to a prisoner who cannot understand the reason for scheduling his execution date. Even if Purkey

misunderstands why the Government scheduled his execution to take place on December 13,

2019, he is still able to appreciate (and indeed has said he accepts) that he will be executed for

kidnapping, raping, and murdering Jennifer Long and to comprehend the meaning and purpose

of his punishment.

       B.      Purkey’s History of Mental Illness Does Not Support a Plausible Claim of
               Incompetency

       Purkey alleges that he has “a history of mental illness, trauma, and paranoid delusional

thinking.” Compl. ¶ 38. Even crediting the truth of these allegations, they do not establish that he

is incapable of rationally understanding the reason for his execution. With the exception of

Dr. Agharkar, whose report is deficient on its face as explained above, Purkey does not allege

that any of the numerous mental health professionals who examined him over the years have

concluded that his mental issues prevent him from comprehending the reason for his execution.

Furthermore, Purkey’s alleged mental illness extends back many years, but it did not prevent him

from being found competent to be tried for his crime.




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       C.      Purkey’s Filing of Grievances and Pro Se Litigation Do Not Support a
               Plausible Claim of Incompetency

       Purkey alleges that his “delusions and paranoia” about retaliation from BOP personnel

“are predominately featured in the countless grievances he has regularly filed for over a decade.”

Compl. ¶ 70. But the grievances themselves, which are attached to Purkey’s Complaint, reflect

not delusion but instead a calculated strategy and understanding of legal principles governing

inmate complaints. Purkey’s grievances consistently allege retaliatory acts because he is familiar

with the legal principle that otherwise permissible actions taken against inmates can be

impermissible if done for purposes of retaliation. See, e.g., Zimmerman v. Tribble, 226 F.3d 568,

573 (7th Cir. 2000) (noting that “otherwise permissible conduct can become impermissible when

done for retaliatory reasons” and citing cases). Purkey occasionally attempts to cite to this case

law in his grievances. See Compl. Ex. 14 at 842 (grievance dated August 22, 2019, citing cases);

Compl. Ex. 14 at 860 (grievance dated December 7, 2018, citing cases); Compl. Ex. 14 at 892

(grievance dated August 8, 2013, citing cases). Purkey’s grievances reflect that he understands

he must allege retaliation for most of his complaints to have any legal significance.

       Furthermore, Purkey started submitting grievances alleging harassment and retaliation by

prison staff well before his capital trial in 2003. See Compl. Ex. 14 at 980-81 (grievance dated

August 10, 2000, complaining about harassment by guards, including “improper motivated

disciplinary report” and destruction of grievances). In one of his grievances, dated December 5,

2008, Purkey cites to his own prior pro se case before the Tenth Circuit, which involved alleged

mistreatment by guards at the Wyandotte County Jail in 1998. See Compl. Ex. 14 at 969 (citing

Purkey v. Green, 28 F. App’x 736, 740-41 (10th Cir. 2001)). In the Tenth Circuit case, Purkey

alleged, among other things, that guards had retaliated against him for litigation he was preparing




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to file. See Green, 28 F. App’x at 741. In short, Purkey’s grievances show on their face that he

alleges retaliation in an effort to make his complaints actionable, not because he is delusional.

       The fact that Purkey’s grievances are baseless and allege things that never took place or

accuse people of saying things they never said, see Compl. ¶¶ 74-81, does not support a plausible

claim of incompetence. His grievances no more indicate he is out of touch with reality than the

more plausible inference that he is simply lying.

       Purkey’s pro se filings likewise do not support his alleged incompetence. At most, those

filings show that he periodically becomes so frustrated with the conditions of his confinement or

the breakdown in communication with his attorneys that he files petitions to expedite his

execution. Compl. ¶ 84. Once he gets the attention he wants, he rescinds these petitions. Compl.

¶ 85. Furthermore, Purkey acknowledges that he does not believe he is being executed because

he asked to be, Compl. ¶ 85, so his pro se petitions to expedite his execution are simply

irrelevant to his current claim of incompetency.

       D.      Purkey’s Dementia and Recent Alzheimer’s Diagnosis Do Not Support a
               Plausible Claim of Incompetency

       Purkey alleges that he has dementia and was diagnosed with Alzheimer’s disease. Compl.

¶¶ 86-98. However, the alleged fact that Purkey has dementia does not establish incompetence,

because although dementia “can cause such disorientation and cognitive decline as to prevent a

person from sustaining a rational understanding of why the State wants to execute him,”

“dementia also has milder forms, which allow a person to preserve that understanding.”

Madison, 139 S. Ct. at 729.

       Purkey does not allege that his dementia has advanced to such a stage that he is unable to

rationally understand why the Government wants to execute him. His condition bears little

resemblance to that of the defendant in Madison v. Alabama, who “suffered a series of strokes,



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including” two major ones, “was diagnosed as having vascular dementia, with attendant

disorientation and confusion, cognitive impairment, and memory loss,” and “claim[ed] that he

[could] no longer recollect committing the crime for which he ha[d] been sentenced to die.” 139

S. Ct. at 723. By contrast, Purkey alleges he was diagnosed in 2016 with “‘the beginning stages

of a cortical neurodegenerative disease, such as dementia.’” Compl. ¶ 86 (quoting Ex. 9 at 89,

report from neuropsychologist Robert H. Ouaou). He also alleges he was diagnosed with

Alzheimer’s disease in August 2019. Compl. ¶ 97; Compl. Ex. 3.

       Neither alleged diagnosis includes an opinion that his condition has progressed to the

point where he is unable to understand the reason for his execution, and that omission is

determinative. Purkey’s allegation that he has dementia does not support a plausible claim that

he is incompetent to be executed.

       E.      Purkey’s Difficulty Communicating with Counsel Does Not Support a
               Plausible Claim of Incompetency

       Purkey alleges that his “long-term inability to effectively communicate with counsel is

evidence of his present incompetence.” Compl. ¶ 103. However, a prisoner’s competency to be

executed does not depend on his ability to assist his counsel. See Walton v. Johnson, 440 F.3d

160, 172 (4th Cir. 2006) (“[W]e conclude that there is no Constitutional requirement under Ford

that Walton be able to assist counsel to be deemed competent to be executed.”); Coe v. Bell, 209

F.3d 815, 826 (6th Cir. 2000) (“We agree that a prisoner’s ability to assist in his defense is not a

necessary element to a determination of competency to be executed.”); see also Madison, 139 S.

Ct. at 731 (“The sole question on which . . . competency depends is whether [the prisoner] can

reach a rational understanding of why the state wants to execute him.” (quotation omitted)).

Purkey’s alleged inability to get along with his counsel may reflect any number of personality

disorders, but it does not bear upon his ability to understand the reason for his execution.



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       F.      Purkey’s Own Statements and Writings Show He Understands the Reason
               for His Execution

       Purkey’s own statements contained in documents attached to his Complaint directly

contradict his claim of incompetency. See Redmon v. U.S. Capitol Police, 80 F. Supp. 3d 79, 89

(D.D.C. 2015) (Chutkan, J.) (“‘[W]here a conclusory allegation in the complaint is contradicted

by a document attached to the complaint, the document controls and the allegation is not

accepted as true.’” (quoting Edwards v. Ocwen Loan Servicing, LLC, 24 F. Supp. 3d 21, 26 n.4

(D.D.C. 2014))).

       As Dr. Agharkar admits, Purkey told him “that he knew what an execution was and said

that he accepted that he was going to be executed for the murder of Jennifer Long.” Compl. Ex. 1

at 11. In his Complaint, Purkey attempts to explain away this statement by aligning it with the

defendant’s statement in Panetti. Compl. ¶ 114. But Panetti does not help him. The expert in

Panetti “explained [that] although [Panetti] claims to understand that the state is saying that it

wishes to execute him for his murders, he believes in earnest that the stated reason is a sham and

the state in truth wants to execute him to stop him from preaching.” Panetti, 551 U.S. at 954-55

(cleaned up and quotations omitted). By contrast, Dr. Agharkar never indicates Purkey attributed

the reason for his execution to the Government. Instead, Purkey “accepted that he was going to

be executed for the murder of Jennifer Long.” Compl. Ex. 1 at 11. Unlike in Panetti, Purkey did

not tell Dr. Agharkar that he believed the reason for his execution was a sham. Instead, Purkey

said that “he was given a date for execution unfairly and for reverse discrimination.” Compl. Ex.

1 at 11. In other words, Purkey makes no allegation that, like in Panetti, he claimed that the

reason he was sentenced to death was a sham. Rather, based on his own allegations, Purkey

accepts the reason for his execution, but he claims he was unfairly selected for an execution date.




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       Other materials attached to Purkey’s Complaint further belie his incompetency claim and

demonstrate that he was not “parroting” when he told Dr. Agharkar why he is being executed.

For example, on May 13, 2019, Purkey filed a handwritten pro se “Petition to Expedite

Execution of Petitioner’s Death Sentence Pursuant to 28 U.S.C. § 2241” in the Southern District

of Indiana. Compl. Ex. 15 at 1029. In this petition, Purkey wrote that “[o]n January 23, 2004

U.S. District Judge Gaitan sentenced Purkey to death after a jury found him guilty of kidnapping

resulting in death and recommended a sentence of death (WDMO Case No. 01-CR-00308-FJG-

DCD 506).” Compl. Ex. 15 at 1029-30. Purkey’s own handwritten petition demonstrates he

understands he was sentenced to death for his crime and possesses a rational understanding of

the reason for his execution.

       Dr. Frederic Sautter, a psychologist who evaluated Purkey in November 2016 and

diagnosed him with complex PTSD, noted the following:

       The two topics that elicited the most intense emotions from Mr. Purkey were the
       killing and dismemberment of Ms. Long and the sexual abuse he suffered from a
       priest. He was not able to discuss the dismemberment of Ms. Long. He became
       distraught with emotion as he communicated his shame for killing Ms. Long and
       the fact that his behavior deprived his daughter and grandchildren of having a
       supportive parent or grandparent.

Compl. Ex. 10 at 91 (emphasis added). Purkey’s expression of “shame” for murdering Jennifer

Long, and his ability to connect his crime to his punishment, demonstrate that he is capable of

understanding the reason for his execution.

       In October 2015, Purkey filed a pro se complaint challenging his exclusion from the

BOP’s Trust Fund Limited Inmate Computer System (TRULINCS), which enables federal

prisoners to communicate through email. Compl. Ex. 15 at 1321. Purkey’s pro se complaint

explains that a jury had convicted him of interstate kidnapping resulting in death and

recommended a death sentence, and that Judge Gaitan had sentenced him to death. Compl. Ex.



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15 at 1326. This complaint further reflects Purkey’s understanding that he was sentenced to

death for his crime.

       Other documents attached to Purkey’s Complaint further undermine his unsupported

assertion that he cannot rationally understand the reason for his execution. A declaration from

Purkey’s daughter states that he calls her every year around the anniversary of her child’s death,

sends presents to his grandchildren on their birthdays, and calls her every week to check on her

and her children. Compl. Ex. 19 at 1475-76. Purkey’s Buddhist monk, who has known him since

2009 and visits him monthly, states that Purkey has been taking Spanish lessons, and his “ability

to learn Spanish has been quite remarkable.” Compl. Ex. 21 at 1485, 1487. He also states that

Purkey consistently reports the latest news about his daughter and grandchildren and corresponds

with pen pals. Compl. Ex. 1488. These statements by people who know Purkey well are

inconsistent with his claim that he is unable to understand why he is being executed.

       In short, Purkey’s Complaint alleges at most that he lacks a rational understanding of the

reason for setting his execution date. Purkey does not plausibly allege that he is incapable of

understanding the reason for his execution, and his own statements and writings show that he is.

Purkey’s Eighth Amendment claim should be dismissed.

IV.    Rule 12(b)(6): Purkey’s Due Process Claim Fails to State a Plausible Claim for
       Relief Because a Competency Hearing Is Not Required Unless and until a Prisoner
       Makes a Substantial Showing of Incompetency

       Purkey alleges that “Defendants [sic] announced plan to carry out Mr. Purkey’s execution

without providing a hearing violates the Fifth and Eighth Amendments.” Compl. ¶ 118. This

claim puts the cart before the horse. Purkey is not entitled to a hearing unless and until he first

makes a substantial threshold showing of incompetence, which he has failed to do.

       The Constitution does not require the Government always to evaluate a prisoner’s

competency prior to carrying out an execution. Purkey was already found competent to stand


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trial, so the Government “may properly presume that [Purkey] remains sane at the time sentence

is to be carried out, and may require a substantial threshold showing of insanity merely to trigger

the hearing process.” Ford, 477 U.S. at 426 (Powell, J., concurring). A competency hearing is

required only if a prisoner first makes a substantial threshold showing of incompetence. “[O]nce

a prisoner makes the requisite preliminary showing that his current mental state would bar his

execution, the Eighth Amendment . . . entitles him to an adjudication to determine his condition.”

Panetti, 551 U.S. at 934-35. A prisoner who has made “‘a substantial threshold showing of

insanity’” is constitutionally entitled to “a ‘fair hearing,’” which “‘may be far less formal than a

trial.’” Id. at 949 (quoting Ford, 477 U.S. at 426-27).

       As explained above, Purkey has not plausibly alleged, much less made a “substantial

threshold showing,” that he is incapable of rationally understanding the reason for his execution.

His allegations of incompetency bear little resemblance to the allegations in the cases he relies

upon. See Madison, 139 S. Ct. at 723 (prisoner suffered strokes, including two major ones, was

diagnosed with vascular dementia, and claimed he could no longer remember committing the

crime); Panetti, 551 U.S. at 954-55 (prisoner believed his execution was part of spiritual warfare

between demons and angels and, although he claimed to understand the state said it wanted to

execute him for his crime, he believed that reason was a sham and the state wanted to execute

him to stop him from preaching); Ford, 477 U.S. at 402-03 (prisoner believed members of his

family were being held hostage in the prison, referred to himself as the pope, believed he could

not be executed, and regressed into speaking in code). Purkey is not entitled to a hearing, and his

due process claim should be dismissed.




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V.     If this Court Does Not Dismiss Purkey’s Claims, It Should Transfer the Case to the
       Southern District of Indiana

       If this Court declines to dismiss Purkey’s claims, it should transfer the case to the

Southern District of Indiana. “[D]eclaratory judgment actions brought by inmates not confined in

the District of Columbia, not sentenced in the District of Columbia, and seeking resolution of

issues in no way related to this jurisdiction,” “absent extraordinary circumstances . . . should

ordinarily be transferred as a matter of course.” Young v. Dir., U.S. Bureau of Prisons, 367 F.2d

331, 332 (D.C. Cir. 1966) (per curiam).

       “For the convenience of parties and witnesses, in the interest of justice, a district court

may transfer any civil action to any other district or division where it might have been

brought . . . .” 28 U.S.C. § 1404(a). Purkey could have brought his claims in the Southern

District of Indiana, and the convenience of the parties and witnesses and interests of justice

support transferring his claims to that court.

       A.       Purkey Could Have Brought His Claims in the Southern District of Indiana

       Defendants are sued in their official capacities, so they are subject to personal jurisdiction

in any district. See 28 U.S.C. § 1391(e)(2) (providing nationwide service of process for actions

suing federal officials in their official capacity); Briggs v. Goodwin, 569 F.2d 1, 7-8 (D.C. Cir.

1977) (holding that nationwide service of process under § 1391(e) confers personal jurisdiction

and comports with the Constitution), rev’d on other grounds sub nom. by Stafford v. Briggs, 444

U.S. 527 (1980); Bally Gaming, Inc. v. Kappos, 789 F. Supp. 2d 41, 45-47 (D.D.C. 2011)

(discussing cases holding that statutes providing nationwide service of process confer personal

jurisdiction independent of minimum contacts analysis). 2


       2
         As explained above, if this Court agrees Purkey’s Complaint sounds in habeas,
jurisdiction over his warden would lie only in the Southern District of Indiana.



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        Venue is proper in the Southern District of Indiana because an action against a federal

official in his or her official capacity may “be brought in any judicial district in which (A) a

defendant in the action resides, (B) a substantial part of the events or omissions giving rise to the

claim occurred, . . . or (C) the plaintiff resides if no real property is involved in the action.” 28

U.S.C. § 1391(e)(1). At least one of the John Doe defendants responsible for carrying out

Purkey’s execution—the warden of his prison—resides in the Southern District of Indiana. See

28 C.F.R. § 26.4 (describing responsibilities of the warden); Nestor v. Hershey, 425 F.2d 504,

521 n.22 (D.C. Cir. 1969) (“Where a public official is a party to an action in his official capacity

he resides in the judicial district where he maintains his official residence, that is where he

performs his official duties.” (quotation omitted)). The events giving rise to Purkey’s claim—his

alleged mental decline and resulting incompetency—occurred during his incarceration in the

Southern District of Indiana. Purkey resides in the Southern District of Indiana. See In re Pope,

580 F.2d 620, 622 (D.C. Cir. 1978) (per curiam) (holding that a prisoner resides in his place of

confinement) (citing Starnes v. McGuire, 512 F.2d 918, 925 n.7 (D.C. Cir. 1974)). 3

        B.       The Convenience of the Parties and Witnesses and Interests of Justice
                 Warrant Transfer

        The D.C. Circuit has identified five factors to consider when deciding whether to transfer

a prisoner’s lawsuit: (1) difficulty of communicating with counsel, (2) difficulty of transporting

the prisoner, (3) availability of witnesses and files, (4) whether the complaint in fact sounds in

habeas, and (5) speed of final resolution. See Starnes v. McGuire, 512 F.2d 918, 929-32 (D.C.



        3
         Under Seventh Circuit law, Purkey may be deemed not to reside in the district where he
is incarcerated. See Roman-Salgado v. Holder, 730 F. Supp. 2d 126, 130 (D.D.C. 2010)
(recognizing a split between the D.C. Circuit and the Seventh Circuit). But this Court is bound to
apply the law of this Circuit. See In re Pope, 580 F.2d at 622. In any event, irrespective of
Purkey’s residence, there are two separate bases for venue in the Southern District of Indiana.



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Cir. 1974). The D.C. Circuit has also recognized “the fact that many, if indeed not most, petitions

filed by prisoners not confined in the District of Columbia and not sentenced here originally, will

tend to involve factors that make transfer to the place of incarceration appropriate.” Id. at 926.

This case is not the exception, and consideration of the relevant factors shows that transfer is

warranted.

       1. Difficulty of communicating with counsel. Purkey’s lead counsel for this action are

based in the District of Columbia, which will make it difficult for Purkey to consult effectively

with them. While Purkey is also represented by counsel located in Kansas City and Springfield,

Missouri, Purkey’s D.C. counsel has informed Defendants’ counsel that they are the point of

contact for this litigation. Furthermore, even Purkey’s attorney based in Kansas City has

complained about the burden of traveling all the way to Terre Haute. Woodman Decl. ¶ 14, ECF

No. 7-2. Particularly given Purkey’s history of raising concerns about communicating with

counsel, see Compl. ¶¶ 103-08, it is important that he be represented by attorneys who can easily

meet with him. It would be easier for Purkey to communicate with counsel in or near Terre

Haute than with his current counsel based in D.C.

       2. Difficulty of transporting the prisoner. The difficulty and expense of transporting

Purkey to D.C. weigh strongly in favor of transfer. “The burdens and dangers involved in

transporting a prisoner across long distances are . . . a significant inconvenience to the Bureau of

Prisons and will normally justify transfer.” Starnes, 512 F.2d at 931. Purkey will be a key

witness in any merits proceedings on the issue of his competency. If Purkey does not testify on

his own behalf, Defendants intend to call him.

       Transporting Purkey to this Court for a hearing would incur significant expense. As

explained in the Declaration of Melissa Reardon attached as Exhibit A to this motion, the U.S.




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Marshals Service would need to lease an airplane and staff it with three security personnel and

one medic. Ex. A at ¶ 5. It would cost approximately $49,000 to transport Purkey from Terre

Haute to D.C. Id. Transporting him back to Terre Haute would incur additional expense. Id.

        3. Availability of witnesses and files. The witnesses and documents relevant to the issues

in this case are primarily located in the Southern District of Indiana. The materials Purkey sought

in his preliminary injunction motion, including his medical and mental health records and video

surveillance of his cell, are located in the Southern District of Indiana. See Memorandum in

Support at 28, ECF No. 7-1. The most important witness in this case—Purkey himself—is

located in the Southern District of Indiana. See Hines v. GEO Grp., Inc., 544 F. Supp. 2d 39, 42

(D.D.C. 2008) (transferring action raising claims of medical treatment and disability

discrimination to district of incarceration in part because “witnesses and evidence relevant to

these claims, including evidence that plaintiff himself might provide, likely would be found

[there]”).

        Most or all of the prison officials with information relevant to Purkey’s mental

competency are also located in the Southern District of Indiana. See Mathis v. Geo Grp., Inc.,

535 F. Supp. 2d 83, 87-88 (D.D.C. 2008) (transferring in part because the number of the

defendants’ employees with relevant information was far greater in the transferee forum).

Although the two named defendants (Attorney General Barr and BOP Director Sawyer) reside in

the District of Columbia, their residence does not matter because they lack information relevant

to Purkey’s claims. To the extent there is a need for any federal official not based in Terre Haute

to testify, “the greater ease with which federal officials can travel to the prison to give evidence,

as opposed to the difficulties of transporting the prisoner, is an appropriate factor to be

considered.” Starnes, 512 F.2d at 928.




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        Purkey alleges that “several key witnesses in this case, including Dr. Jonathan DeRight

and mitigation specialists John Fox and Dr. Elizabeth Vartkessian, reside in close proximity to

the District of Columbia. Compl. ¶ 12. 4 However, Purkey cannot plausibly contend that it would

be inconvenient for any of these potential witnesses to travel to Terre Haute to testify.

Dr. DeRight has already met with Purkey at the prison in Terre Haute at least once; Mr. Fox has

met with Purkey about 25 times; and Dr. Vartkessian has met with Purkey 25 times. Compl. Ex.

3 at 25, Ex. 5 at 40, Ex. 7 at 70.

        4. Whether the complaint in fact sounds in habeas. As explained in Part II above,

Purkey’s Ford claim sounds in habeas. If this Court declines to dismiss this action on that basis,

it should transfer the case to the appropriate forum for a habeas action.

        5. Speed of final resolution. The Southern District of Indiana has demonstrated its ability

to expeditiously adjudicate Purkey’s claims. It resolved Purkey’s 219-page habeas petition in

less than three months. See Petition, Purkey v. United States, No. 19-cv-414 (S.D. Ind. Aug. 27,

2019), ECF No. 1; Purkey v. United States, No. 19-cv-414, 2019 WL 6170069 (S.D. Ind. Nov.

20, 2019). Furthermore, the fact Purkey pursued a claim related to his competency—albeit his

competency at the time of the offense—in his habeas proceedings is another factor supporting

transfer of this case. See Amended Petition at 193, Purkey v. United States, No. 19-cv-00414

(Sept. 12, 2019), ECF No. 23. One of the reasons for transferring lawsuits brought by out-of-

state prisoners is to “discourage duplicitous litigation and . . . relieve the courts of this

jurisdiction from the unnecessarily onerous task of deciding cases brought by a prisoner

incarcerated far away from Washington, D.C., and based on events alleged to have taken place in


        4
       More specifically, Dr. DeRight has offices in McLean and Woodbridge, Virginia;
Mr. Fox is based in Silver Spring, Maryland; and Dr. Vartkessian is based in Baltimore,
Maryland. Compl. Exs. 4, 6, 8.



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distant parts of the country.” Young, 367 F.2d at 333 (quotations omitted). This Court should not

countenance Purkey’s attempt to pursue two actions in two separate fora, both alleging claims

related to his mental competency.

       No countervailing interests support litigating this case in this Court. See Starnes, 512

F.2d at 932-33 (noting that even if the five factors support transfer, countervailing interests can

dictate the case be retained). In particular, Purkey does not challenge a national policy, which

distinguishes this case from others this Court has declined to transfer. See, e.g., Accurso v. Fed.

Bureau of Prisons, No. 17-cv-02626 (APM), 2018 WL 4964501, at *2 (D.D.C. Oct. 15, 2018)

(declining to transfer when prisoner’s warden relied upon a national BOP policy when denying

prisoner’s request to keep religious items in his cell). The only issue in this case is Purkey’s

competency to be executed. Even if Purkey’s claims could be construed as implicating a national

policy, “that factor is not determinative,” and venue would still be more appropriate in the

Southern District of Indiana where any policy would be implemented. See Stern v. Fed. Bur. of

Prisons, No. 07-00564, 2007 WL 1555830, at *2 (D.D.C. Mar. 22, 2007); see also Starnes, 512

F.2d at 929 (holding that even if the plaintiff had raised a national policy issue, transfer was not

warranted when the plaintiff’s claim related primarily to his particular circumstances and the

witnesses were located in the transferee forum).

       Finally, it is true that a plaintiff’s choice of forum is generally a relevant factor in the

transfer analysis. See, e.g., Lentz v. Eli Lilly & Co., 464 F. Supp. 2d 35, 37 (D.D.C. 2006).

However, a plaintiff’s preference is entitled to less weight when, as here, this district is not the

plaintiff’s home forum. See Stern, 2007 WL 1555830, at *1 (observing that a court “may give

substantially less deference [to a plaintiff’s forum choice] when the forum preferred by the

plaintiff is not his home forum”); Mathis, 535 F. Supp. 2d at 87 (noting that plaintiffs’




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“preference is not insurmountable, and here, it is entitled to less weight given the posture of

many of the plaintiffs as out-of-state prisoners seeking injunctive and declaratory relief”). This

district has no connection to Purkey, his crimes, or his sentence, so Purkey’s preference for

pursuing his lawsuit in this Court should be given little weight.

       In short, the interests of justice and the convenience of the parties and witnesses all support

transferring this case to the Southern District of Indiana.

                                          CONCLUSION

       For the foregoing reasons, this Court should dismiss Purkey’s claims in their entirety. In

the alternative, any surviving claims should be transferred to the Southern District of Indiana.



 Dated: February 24, 2020                             Respectfully submitted,

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                                                By      /s/ J. Benton Hurst

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